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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:22-CR-00021-NODJ-BAM
12                                Plaintiff,            STIPULATION AND ORDER TO CONTINUE
                                                        CHANGE OF PLEA HEARING
13                         v.
                                                        DATE: July 15, 2024
14   ANDRES PEREZ,
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for a Change of Plea Hearing on July 15, 2024, at

21 8:30 a.m. The parties now stipulate and request that the Court continue the change of plea hearing to

22 August 26, 2024 at 8:30 a.m. The parties request that time be excluded between July 15, 2024, and

23 August 26, 2024, pursuant to 18 U.S.C.§ 3161(h)(7)(A) and B(iv). Specifically, defense requests the

24 additional time to review the government’s plea agreement with his client, conduct independent

25 investigation, and prepare for the change of plea hearing. All discovery has already been produced in

26 the case.
27          2.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

28 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1 must commence.

 2         IT IS SO STIPULATED.

 3

 4
     Dated: June 28, 2024                                PHILLIP A. TALBERT
 5                                                       United States Attorney
 6
                                                         /s/ JUSTIN J. GILIO
 7                                                       JUSTIN J. GILIO
                                                         Assistant United States Attorney
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10
     Dated: June 28, 2024                                /s/ Robert Lamanuzzi
11                                                       Robert Lamanuzzi
12                                                       Counsel for Defendant
                                                         ANDRES PEREZ
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14

15                                               ORDER

16         IT IS SO ORDERED that the change of plea hearing is continue from July 15, 2024 to August 26,

17 2024, at 8:30 a.m. in Courtroom 5 before the District Court Judge. Time is excluded pursuant to 18

18 U.S.C.§ 3161(h)(7)(A) and B(iv).

19 IT IS SO ORDERED.

20     Dated:    June 28, 2024                            /s/ Barbara A. McAuliffe           _
21                                                 UNITED STATES MAGISTRATE JUDGE

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      STIPULATION REGARDING EXCLUDABLE TIME          2
30    PERIODS UNDER SPEEDY TRIAL ACT
